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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                          PLAINTIFF

v.                                No. 4:11CR00290-13 JLH

SHANNON PITTMAN                                                                 DEFENDANT

                                          ORDER

       Pending before the Court is defendant’s Motion for Continuance of the supervised release

revocation hearing currently set for Tuesday, November 25, 2014. Good cause having been shown,

the motion is GRANTED. Document #569. The hearing on the pending motion to revoke

supervised release of defendant Shannon Pittman is hereby rescheduled for MONDAY,

DECEMBER 1, 2014, at 2:30 P.M., in Courtroom #4-D, Richard Sheppard Arnold United States

Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas. Document #553.

       IT IS SO ORDERED this 24th day of November, 2014.



                                                  __________________________________
                                                  J. LEON HOLMES
                                                  UNITED STATES DISTRICT JUDGE
